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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:04CR206
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
ADAM SOMMER,                                 )
                                             )
             Defendant.                      )

      This matter is before the Court on: the oral motion of defense attorney James M.

Davis to withdraw his entry of appearance; the motion to withdraw (Filing No. 298) filed by

defense attorney Jerry Hug; and the government’s objection (Filing No. 290) to a previous

motion to withdraw filed by Hug.

      The previous motion to withdraw (Filing No. 289) was denied by Judge Thalken.

(Filing No. 291.) Therefore the government’s objection to that motion (Filing No. 290) is

denied as moot.

      The suggestion of conflict (Filing No. 300) was heard by telephone conference call

on June 24, 2005. Attorney Davis’s oral motion to withdraw his entry of appearance is

granted, and the Clerk will be directed to alter the docket sheet accordingly. Attorney

Hug’s motion to withdraw (Filing No. 298) is denied.

      IT IS ORDERED:

      1.     The government’s objection (Filing No. 290) is denied as moot;

      2.     Attorney James M. Davis’s oral motion to withdraw his entry of appearance

             is granted, and the Clerk is directed to alter the docket sheet accordingly;

             and
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     3.    The motion to withdraw filed by defense attorney Jerry Hug (Filing No. 298)

           is denied.

     DATED this 24th day of June, 2005.

                                             BY THE COURT:

                                             s/Laurie Smith Camp
                                             United States District Judge
